[1] Respondents have made two motions to dismiss appeals. The appellants, as plaintiffs in the court below, instituted two actions against respondents, as defendants, one in ejectment (No. 182,980), the other to quiet title (No. 191,794). Judgment in each case was entered for the defendants. Motions for new trial were denied, but on motion of the plaintiffs the trial court vacated and set aside the judgments and entered new judgments in their stead. Plaintiffs appealed from each of the new judgments, but subsequently the orders vacating the original judgments, and the substituted judgments entered thereon, were annulled by this court on certiorari. (Stanton v. Superior Court, 202 Cal. 478
[261 P. 1001].) The remittitur was filed in the court below January 28, 1928.
Any question raised by the appeals having become moot, the appeals are, and each is, dismissed.
Richards, J., Shenk, J., Langdon, J., Preston, J., and Curtis, J., concurred. *Page 173 